     Case 15-10364               Doc 18    Filed 07/07/15 Entered 07/09/15 23:53:15     Desc Imaged
                                          Certificate of Notice Page 1 of 4
B18 (Official Form 18) (12/07)

                                     United States Bankruptcy Court
                                             Northern District of Illinois
                                                  Case No. 15−10364
                                                      Chapter 7

In re: Debtor (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade,
and address):
   Bonita Denise Hicks
   7 W 140th Court
   Riverdale, IL 60827
Social Security / Individual Taxpayer ID No.:
   xxx−xx−6642
Employer Tax ID / Other nos.:



                                            DISCHARGE OF DEBTOR

      It appearing that the debtor is entitled to a discharge, IT IS ORDERED: The debtor is
granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).




                                                           FOR THE COURT


Dated: July 7, 2015                                        Jeffrey P. Allsteadt, Clerk
                                                           United States Bankruptcy Court




                     SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
     Case 15-10364            Doc 18      Filed 07/07/15 Entered 07/09/15 23:53:15                  Desc Imaged
                                         Certificate of Notice Page 2 of 4
B18 (Official Form 18) (12/07) − Cont.


                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor.[In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans (in a case filed on or after October 17,
      2005).



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
          Case 15-10364            Doc 18       Filed 07/07/15 Entered 07/09/15 23:53:15                         Desc Imaged
                                               Certificate of Notice Page 3 of 4
                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 15-10364-CAD
Bonita Denise Hicks                                                                                        Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: admin                        Page 1 of 2                          Date Rcvd: Jul 07, 2015
                                      Form ID: b18                       Total Noticed: 28


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 09, 2015.
db             +Bonita Denise Hicks,     7 W 140th Court,    Riverdale, IL 60827-2210
23085329       +BBY/CBNA,    Attn: Bankruptcy Dept.,    50 Northwest Point Road,
                 Elk Grove Village,IL 60007-1032
23097603        Bank of America, N.A.,     c/o Heavner, Beyers & Mihlar, LLC,    Post Office Box 740,
                 Decatur, Illinois 62525-0740
23085342       +Equifax,    Attn: Bankruptcy Dept.,    PO Box 740241,    Atlanta,GA 30374-0241
23085341       +Experian,    Attn: Bankruptcy Dept.,    PO Box 2002,    Allen,TX 75013-2002
23085343       +Feldo,    Sales Finance,    125 East Oakton,    Des Plaines,IL 60018-1909
23085335       +GDYR/CBNA,    Attn: Bankruptcy Dept.,     Po Box 6497,   Sioux Falls,SD 57117-6497
23085340       +Transunion,    Attn: Bankruptcy Dept.,     PO Box 1000,   Chester,PA 19016-1000

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: QGSZILAGYI.COM Jul 08 2015 01:03:00       Gregg Szilagyi,    542 South Dearborn Street,
                 Suite 1400,    Chicago, IL 60605-1564
23085327       +E-mail/Text: bankruptcy@rentacenter.com Jul 08 2015 01:25:54        Acceptance NOW,
                 Attn: Bankruptcy Dept.,    5501 Headquarters Dr,     Plano,TX 75024-5837
23085334        EDI: BANKAMER.COM Jul 08 2015 01:03:00       BK OF AMER,    Attn: Bankruptcy Dept.,
                 4161 Piedmont Pkwy,    Greensboro,NC 27410
23085326        EDI: BANKAMER.COM Jul 08 2015 01:03:00       BK OF AMER,    Attn: Bankruptcy Dept.,
                 Po Box 982235,    El Paso,TX 79998
23085322       +EDI: CAPITALONE.COM Jul 08 2015 01:03:00       CAP1/Bstby,    Attn: Bankruptcy Dept.,
                 26525 N Riverwoods Blvd,    Mettawa,IL 60045-3440
23085323       +EDI: CAPITALONE.COM Jul 08 2015 01:03:00       CAP1/Carsn,    Attn: Bankruptcy Dept.,
                 26525 N Riverwoods Blvd,    Mettawa,IL 60045-3440
23085333       +EDI: CAPITALONE.COM Jul 08 2015 01:03:00       CAP1/Mnrds,    Attn: Bankruptcy Dept.,
                 26525 N Riverwoods Blvd,    Mettawa,IL 60045-3440
23085325        EDI: CAPITALONE.COM Jul 08 2015 01:03:00       Capital One,    Attn: Bankruptcy Dept.,
                 Po Box 85520,    Richmond,VA 23285
23085336       +EDI: CHASE.COM Jul 08 2015 01:03:00       CHASE,    Attn: Bankruptcy Dept.,    Po Box 15298,
                 Wilmington,DE 19850-5298
23085337       +EDI: WFNNB.COM Jul 08 2015 01:03:00       COMENITY BANK/Ashstwrt,    Attn: Bankruptcy Dept.,
                 Po Box 182789,    Columbus,OH 43218-2789
23085330       +EDI: WFNNB.COM Jul 08 2015 01:03:00       COMENITY BANK/Carsons,    Attn: Bankruptcy Dept.,
                 3100 Easton Square Pl,    Columbus,OH 43219-6232
23085332       +EDI: WFNNB.COM Jul 08 2015 01:03:00       COMENITY BANK/Lnbryant,    Attn: Bankruptcy Dept.,
                 4590 E Broad St,    Columbus,OH 43213-1301
23085320       +EDI: WFNNB.COM Jul 08 2015 01:03:00       COMENITY BANK/Lnbryant,    Attn: Bankruptcy Dept.,
                 Po Box 182789,    Columbus,OH 43218-2789
23085338       +EDI: FORD.COM Jul 08 2015 01:03:00       FORD CRED,    Attn: Bankruptcy Dept.,    Po Box Box 542000,
                 Omaha,NE 68154-8000
23085324       +EDI: WFNNB.COM Jul 08 2015 01:03:00       LANE BRYANT RETAIL/SOA,    Attn: Bankruptcy Dept.,
                 450 Winks Ln,    Bensalem,PA 19020-5932
23085319       +Fax: 847-227-2151 Jul 08 2015 02:26:40       MRSI,    Attn: Bankruptcy Dept.,
                 2250 E Devon Ave Ste 352,    Des Plaines,IL 60018-4521
23085339       +EDI: TSYS2.COM Jul 08 2015 01:03:00       Mcydsnb,    Attn: Bankruptcy Dept.,    9111 Duke Blvd,
                 Mason,OH 45040-8999
23085331       +EDI: RMSC.COM Jul 08 2015 01:04:00       Syncb/HH GREGG,    Attn: Bankruptcy Dept.,
                 Po Box 965036,    Orlando,FL 32896-5036
23085328       +EDI: RMSC.COM Jul 08 2015 01:04:00       Syncb/SAMS CLUB DC,    Attn: Bankruptcy Dept.,
                 Po Box 965005,    Orlando,FL 32896-5005
23085321       +EDI: RMSC.COM Jul 08 2015 01:04:00       Syncb/Walmart,    Attn: Bankruptcy Dept.,    Po Box 965024,
                 Orlando,FL 32896-5024
                                                                                                TOTAL: 20

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 09, 2015                                            Signature: /s/Joseph Speetjens
        Case 15-10364       Doc 18    Filed 07/07/15 Entered 07/09/15 23:53:15            Desc Imaged
                                     Certificate of Notice Page 4 of 4


District/off: 0752-1          User: admin                 Page 2 of 2                  Date Rcvd: Jul 07, 2015
                              Form ID: b18                Total Noticed: 28

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                              CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 7, 2015 at the address(es) listed below:
              Gregg Szilagyi     gs@tailserv.com, gszilagyi@ecf.epiqsystems.com;gszilagyi@epiqtrustee.com
              Heather M Giannino    on behalf of Creditor   Bank of America, N.A. bankruptcy@hsbattys.com,
               bankruptcy@hsbattys.com
              Jon K. Clasing    on behalf of Debtor Bonita Denise Hicks ndil@geracilaw.com
              Michael L Sherman    on behalf of Creditor   FORD MOTOR CREDIT COMPANY LLC shermlaw1@aol.com
              Patrick S Layng    USTPRegion11.ES.ECF@usdoj.gov
                                                                                             TOTAL: 5
